Case 1:11-cv-01226-RHB ECF No. 51-5, PagelD.821 Filed 01/16/12 Page 1of1

From: Nancy Houston
Sent: Fri 1/28/2011 2:11 PM

To: Jason Graham; Eric Jensen; Merrimac Penman: Bob Penman
Cc: Nancy Houston

Subject: Deposit: Fri. Jan. 28, 2011

Deposit: Fri. Jan. 28, 2011

IOLTA ACCOUNT:

mre Ole LEP § 50,000.00
NVI — USI $100,000.00
TOTAL DEPOSIT: $150,000.00

Nancy L. Houston

Administrative Assistant

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"EXHIBIT =

